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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT
       At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
16th day of December, two thousand twenty-two,

Before:     Denny Chin,
            Susan L. Carney,
            Beth Robinson,
                   Circuit Judges.
_________________________________________

 Selina Soule, a minor, by Bianca Stanescu, her
 mother; Chelsea Mitchell, a minor, by Christina
 Mitchell, her mother; Alanna Smith, a minor, by       JUDGMENT
 Cheryl Radachowsky, her mother; Ashley
 Nicoletti, a minor, by Jennifer Nicoletti, her        Docket No. 21-1365
 mother,

              Plaintiffs-Appellants,

 v.

 Connecticut Association of Schools, Inc. D/B/A
 Connecticut Interscholastic Athletic Conference;
 Bloomfield Public Schools Board of Education;
 Cromwell Public Schools Board of Education;
 Glastonbury Public Schools Board of Education;
 Canton Public Schools Board of Education;
 Danbury Public Schools Board of Education,

               Defendants-Appellees,

 Andraya Yearwood; Thania Edwards, on behalf
 of her daughter, T.M.; Commission on Human
 Rights and Opportunities,

           Intervenor-Defendants-Appellees.
_________________________________________

        The appeal in the above captioned case from a judgment of the United States District
Court for the District of Connecticut was argued on the district court’s record and the parties’
briefs. Upon consideration thereof,
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      IT IS HEREBY ORDERED, ADJUDGED and DECREED that the district court’s
judgment dismissing the claim is AFFIRMED.

                                            For the Court:
                                            Catherine O’Hagan Wolfe,
                                            Clerk of Court
